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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                    CASE NUMBER:


                                                                      2:22−cv−07641−MWF−AFM
   GIFTY ADU−DARKS, et al.
                                                    Plaintiff(s),

            v.
   IRENE MARTIN, et al.
                                                  Defendant(s).
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                                                                      ELECTRONICALLY FILED DOCUMENT




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                                                            Deputy Clerk

   cc: Assigned District Judge and/or Magistrate Judge

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